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                                        United States District Court
                                         NORTHERN DISTRICT OF TEXAS
                                       1100 COMMERCE STREET, RM. 1572
                                             DALLAS, TEXAS 75242


   CHAMBERS OF
BARBARA M. G. LYNN
U.S. DISTRICT JUDGE
       (214) 753-2420




                                                October 15, 2014

           Re:          Civil Action No.: 3:14-3088-M
                        Moss, et al. v. Princip, et al.

           TO ALL COUNSEL OF RECORD:

        If all parties are agreeable to transferring this case to a Magistrate Judge, enclosed please
find a consent form to proceed before a United States Magistrate Judge.

        After this form has been completed and executed by all parties to the case, please return
it directly to the chambers of the Honorable Barbara M. G. Lynn, United States District Judge,
1100 Commerce Street, Room 1572, Attn: Ms. Lori Greco, Courtroom Coordinator, Dallas,
Texas 75242, instead of to the District Clerk’s office as the form directs.

           If you have any questions, you may contact me at 214-753-2421.

                                                             Sincerely,

                                                             s/ Lori Anne Greco

                                                             Lori Anne Greco
                                                             Court Coordinator to the
                                                             Honorable Barbara M. G. Lynn

Enc.
